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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL
  FOUNDATION,
  611 Pennsylvania Ave., SE #231
  Washington, D.C. 20003

                      Plaintiff,               Civil Action No.: 23-3680

                v.

  UNITED STATES FOOD AND DRUG
  ADMINISTRATION
  1093 New Hampshire Ave.,
  Silver Spring, MD 20993

                     and

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES
  200 Independence Ave SW
  Washington, DC 20201,

                      Defendants.


                                    COMPLAINT

      1.      Plaintiff America First Legal Foundation (“AFL”) brings this action

against the United States Food and Drug Administration (“FDA”) and the United

States Department of Health and Human Services (“HHS”), to compel compliance

with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.
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                          JURISDICTION AND VENUE

      2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. §

552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

      3.      Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).

                                        PARTIES

      4.      The Plaintiff, AFL, is a nonprofit organization working to promote the

rule of law in the United States, prevent executive overreach, ensure due process and

equal protection for all Americans, and encourage public knowledge and

understanding of the law and individual rights guaranteed under the United States

Constitution and the laws of the United States. AFL’s mission includes promoting

government transparency and accountability by gathering official information,

analyzing it, and disseminating it through reports, press releases, and/or other

media, including social media platforms, all to educate the public.

      5.      The Defendant FDA is an agency under 5 U.S.C. § 552(f), with its

headquarters at 1093 New Hampshire Ave., Silver Spring, MD 20993.

      6. The Defendant HHS is an agency under 5 U.S.C. § 552(f), with its

           headquarters at 200 Independence Ave SW, Washington, DC 20201.

      7.      The Defendants have possession, custody, and control of the requested

records.




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                                      BACKGROUND

      8.      The Biden Administration has stated that it is committed to a

transparent, open, and ethical government.1

      9.      “Timely disclosure of records is also essential to the core purpose of

FOIA.” U.S. DEP’T JUST., Freedom of Information Act Guidelines (Mar. 15, 2022),

https://tinyurl.com/2yd463dv.

                              AFL’S FOIA REQUESTS

                            Hydroxychloroquine Request to HHS

      10.     On August 8, 2022, AFL submitted a FOIA request to HHS seeking

information related to Hydroxychloroquine over a specific time period. Ex. A.

      11.     This request sought a fee waiver. Id.

      12.      On August 9, 2022, AFL received a letter from HHS acknowledging the

request and assigned it tracking number 2022-01072-FOIA-OS. Ex. B.

      13.     That email invoked an extension of ten days, for “unusual

circumstances” and assigned the request to the complex processing track Id.

      14.     As of the date of this filing, Defendant HHS has not provided any records

under this request.




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   FACT SHEET: Biden-Harris Administration Prioritizes Effectiveness,
Accountability, and Transparency in Bipartisan Infrastructure Law Implementation,
THE WHITE HOUSE (Apr. 29, 2022), https://tinyurl.com/bdhrccyk; Biden White House
Pledges Data, Transparency, Respect for Free Press, REUTERS (Jan. 20, 2021),
https://tinyurl.com/3fzz25mf; Mark Joyella, Biden’s White House Press Secretary
Promises      ‘Trust    and    Transparency,’    FORBES     (Jan.   20,    2021),
https://tinyurl.com/2p8729wz.

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                             Hydroxychloroquine Request to FDA

      15.    On August 8, 2022, AFL submitted a FOIA request to FDA seeking

information related to Hydroxychloroquine over a specific time period. Ex. C.

      16.    This request sought a fee waiver. Id.

      17.    On August 11, 2022, AFL received a letter from the FDA acknowledging

the request and assigned it tracking number 2022-5862. Ex. D.

      18.    As of the date of this filing, Defendant FDA has not provided any records

under this request.

                                 Ivermectin Request to HHS

      19.    On September 14, 2022, AFL submitted a FOIA request to HHS seeking

information related to Ivermectin over a specific time period. Ex. E.

      20.    This request sought a fee waiver. Id.

      21.    On September 16, 2022, AFL received a letter from HHS acknowledging

the request and assigned it tracking number 2022-01186-FOIA-OS. Ex. F.

      22.    As of the date of this filing, Defendant HHS has not provided any records

under this request.

                               CLAIM FOR RELIEF

                          Violation of the FOIA, 5 U.S.C. § 552

      23.    AFL incorporates paragraphs 1–22 by reference.

      24.    AFL properly requested records within the possession, custody, and

control of the Defendants.

      25.    The Defendants failed to conduct searches for responsive records.




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      26.      Moreover, because Defendants failed to conduct searches, they have

failed to disclose any segregable, non-exempt portions of responsive records. See 5

U.S.C. § 552(b).

      27.      The Defendants have failed to respond to AFL’s requests within the

statutory time period. See 5 U.S.C. § 552(a)(6).

      28.      Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(6)(C).

      29.      The Defendants have violated the FOIA by failing, within the prescribed

time limit, to reasonably search for records responsive to AFL’s FOIA request and

release nonexempt records.

                               PRAYER FOR RELIEF

      WHEREFORE, AFL respectfully requests that this Court:

      i.       Declare that the records sought by AFL’s requests must be disclosed

pursuant to 5 U.S.C. § 552;

      ii.      Order the Defendants to search immediately, demonstrating search

methods reasonably likely to lead to the discovery of responsive records;

      iii.     Order the Defendants to produce by a date certain all non-exempt

records responsive to AFL’s FOIA requests, accompanied by a Vaughn index of any

responsive records or portions of responsive records being withheld under a claim of

exemption;

      iv.      Order the Defendants to grant AFL’s requests for fee waivers;




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     v.       Award AFL attorneys’ fees and costs incurred in this action pursuant to

5 U.S.C. § 552(a)(4)(E); and

     vi.      Grant AFL such other and further relief as this Court deems proper.


Date: December 11, 2023
                                           Respectfully Submitted


                                           /s/ Jacob Meckler_________________
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                                           America First Legal Foundation




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